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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UP STATE TOWER CO., LLC,

                   Plaintiff,
                                               DECISION and ORDER
      -vs-                                     No. 1:16-cv-00069-MAT

THE TOWN OF KIANTONE, NEW YORK; THE
TOWN BOARD OF THE TOWN OF KIANTONE,
NEW YORK; and THE BUILDING
DEPARTMENT OF THE TOWN OF KIANTONE,
NEW YORK,

                   Defendants.



                                INTRODUCTION

     Up State Tower Co., LLC (“Plaintiff”) commenced this action

against the Town of Kiantone, the Town Board of the Town of

Kiantone and the Building Department of the Town of Kiantone

(collectively, “Defendants”) alleging that Defendants violated the

Telecommunications Act of 1996 (“TCA”), Pub. L. No. 104–104, 110

Stat. 56 (codified at 47 U.S.C. § 151 et seq., as amended), in

denying its application for a special use permit to construct a

public   utility   wireless     telecommunication   facility.   Presently

before the Court is Defendants’ Second Motion for Summary Judgment.

For the reasons discussed below, the motion is denied.

             FACTUAL BACKGROUND AND PROCEDURAL HISTORY

     Plaintiff develops and builds telecommunications facilities on

behalf of Blue Wireless, a telecommunications carrier licensed by

the Federal Communications Commission (“FCC”) to operate in the
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Jamestown, New York area, including the Town of Kiantone (“the

Town”). The Town is a municipal corporation in Chatauqua County,

New York. The Town Board of the Town of Kiantone (“the Board”) is

the Town’s governmental body.

     At issue in this litigation is Plaintiff’s Tower Permit

Application   (“the   Application”)      dated   July   30,   2015,   seeking

permission to construct a wireless telecommunications tower at 1710

Foote Avenue, in Jamestown, New York (“the Proposed Site”).

     On December 9, 2016, this Court issued a Decision and Order

granting Plaintiff’s motion for summary judgment on as to its first

cause of action and ordered, as a remedy, that the Town issue a

written decision on the Application within 20 days.

     On December 19, 2016, the Board issued a “Resolution Denying

the Application of Up State Tower Co., LLC For Town Tower Permit,

Area Variances and Site Plan Review” (“the Resolution”) (Dkt #39-

3). After making a number of factual findings, see id. ¶¶ 1-61, the

Board offered several reasons for denying Plaintiff’s Application,

including that Plaintiff “failed to establish that its proposed

facility is the least intrusive means to close Blue Wireless’ gap

in wireless coverage or that a tower at this location and height is

needed to solve Blue Wireless’ alleged gap in wireless coverage[.]”

Resolution at 13.

     On January 9, 2017, Plaintiff filed a motion to reconsider

this Court’s December 9, 2016 decision. After the Court issued a


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Decision and Order denying reconsideration on March 31, 2017,

Plaintiff filed a notice of interlocutory appeal as to the December

2016 and March 2017 decisions. The United States Court of Appeals

for the Second Circuit affirmed both decisions on December 27,

2017.

       Defendants now have filed their Second Motion for Summary

Judgment (Dkt ##39 - 39-20) asserting that they are entitled to

judgment as a matter of law on Count V of the Amended Complaint

(Dkt #24),     which   alleges that    the   denial of      the    Application

violated 47 U.S.C. § 332(c)(7)(B)(iii) because it is unsupported by

“substantial evidence.” Plaintiff has opposed the motion (Dkt ##42

through 42-5), and Defendants have filed a Reply (Dkt #43).                 The

motion was submitted without oral argument on November 27, 2018

(Dkt #44). On February 15, 2019, Plaintiff filed a Response (Dkt

#45) presenting supplemental authority1 in further support of its

opposition.

       The supplemental authority consists of a Declaratory Ruling

and Third Report and Order (“FCC Order”) adopted by the Federal

Communications     Commission    (“FCC”)   on   September    26,    2018,   and

effective January 14, 2019. Plaintiff notes that the FCC clarified

the   interpretation of what constitutes “an effective prohibition”


       1
            The FCC Order is entitled In the Matter of Accelerating Wireless
Broadband Deployment by Removing Barriers to Infrastructure Investment, WT
Dkt. No. 17-79 and WC Docket No. 17-84, FCC 18-133, available at
https://www.fcc.gov/document/fcc-facilitates-wireless-infrastructure-deploymen
t-5g.


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of wireless service for purposes of an “effective prohibition”

claim under 47 U.S.C. § 332(c)(7)(B)(i)(II). Defendants did not

respond to Plaintiff’s submission of the FCC Order. Defendants have

not moved for summary judgment on Plaintiff’s effective prohibition

claim, and it is unclear whether the FCC Order applies to the

Resolution issued in December 2016. The Court finds that while the

FCC Order is informative, it is not dispositive of this motion.



                       SUMMARY JUDGMENT STANDARD

       Rule 56 of the Federal Rules of Civil Procedure provides that

a court “shall grant summary judgment if the movant shows that

there is no genuine dispute as to any material fact and the movant

is entitled to judgment as a matter of law.” FED. R. CIV. P. 56(a).

A fact is deemed “material” for these purposes “if it might affect

the   outcome   of   the   suit   under    the   governing   law.”   Holtz   v.

Rockefeller & Co., 258 F.3d 62, 69 (2d Cir. 2001) (citation

omitted). A factual issue is “genuine” if “a reasonable jury” could

find in favor of the nonmoving party based on that fact. Id.

(citation omitted). The initial burden of establishing the absence

of any genuine issue of material fact falls on the movant; after

that, the burden shifts to the nonmovant to establish the existence

of a factual question requiring resolution at trial. Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 256 (1986). At the summary

judgment stage, “courts are required to view the facts and draw


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reasonable inferences ‘in the light most favorable to the party

opposing the [summary judgment] motion.” Scott v. Harris, 550 U.S.

372, 378 (2007) (quotation and citation omitted).

                                DISCUSSION

I.    Overview of the TCA

      The TCA has been described as “an omnibus overhaul of the

federal regulation of communications companies,” Sprint Spectrum

L.P. v. Willoth, 176 F.3d 630, 637 (2d Cir. 1999), intended “‘to

provide    for   a   pro-competitive,     de-regulatory   national   policy

framework designed to accelerate rapidly private sector deployment

of advanced telecommunications and information technologies and

services . . . .’” Id. (quoting H.R. Conf. Rep. No. 104–458, at 113

(1996); other citation omitted). To these ends, the TCA limits

State and local governmental authority to deny construction of

wireless     telecommunications         towers,   see     47   U.S.C.     §

332(c)(7)(B)(i), and prescribes how such decisions must be made,

see id. § 332(c)(7)(B)(ii)-(iv). “Although the TCA preserves local

zoning authority in all other respects over the siting of wireless

facilities, [47 U.S.C.] § 332(c)(7)(A), ‘the method by which siting

decisions are made is now subject to judicial oversight.’” Willoth,

176 F.3d at 637      (quoting Cellular Tel. Co. v. Town of Oyster Bay,

166 F.3d 490, 492 (2d Cir. 1999) (“Town of Oyster Bay”).

      Substantively, the TCA provides that no State or local law may

prohibit or have the effect of prohibiting “the provision of


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personal wireless services.” 47 U.S.C. § 332(c)(7)(B)(i)(II). The

TCA procedurally requires that the denial of a request to construct

a   wireless    facility    must   be   “in   writing   and    supported   by

substantial evidence” in the record. 47 U.S.C. § 332(c)(7)(B)(iii).

II.    The “Substantial Evidence” Standard

       When determining whether a denial of a wireless tower permit

application was supported by substantial evidence, courts “must

employ ‘the traditional standard used for judicial review of agency

actions.’” Town of Oyster Bay, 166 F.3d at 494 (quoting H.R. Conf.

No. 104–458, at 208 (1996), reprinted in 1996 U.S.C.C.A.N. 124,

223). Substantial evidence requires “less than a preponderance, but

more than a scintilla of evidence [and] ‘means such relevant

evidence as a reasonable mind might accept as adequate to support

a conclusion.’” Id. (quoting Universal Camera v. NLRB, 340 U.S.

474,    477   (1951)   (internal   quotations    omitted      in   original)).

“Whether an administrative agency determination is shored up by

substantial evidence is a question of law to be decided by the

courts.” Willoth, 176 F.3d at 645 (quoting 300 Gramatan Ave.

Assocs. v. State Div. of Human Rights, 45 N.Y.2d 176, 181 (1978)).

When a Federal court evaluates the evidence underlying a zoning

decision in this area, local and State zoning laws “govern the

weight to be given the evidence.” Town of Oyster Bay, 166 F.3d at

494.

III. The Relevant Local and State Laws


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       A.     State Law

       In New York State, “cellular telephone companies are afforded

the status of public utilities[,]” Town of Oyster Bay, 166 F.3d at

494    (citation     omitted),   meaning    that    “a    cellular     telephone

company’s application for a variance must be judged by the [local

zoning board] on a different standard than that applied to the

usual application for a use variance.” Id. (citing Consolidated

Edison Co. v. Hoffman, 43 N.Y.2d 598, 611 (1978) (“Con Ed”)). Under

the Con Ed “public necessity” standard, a wireless provider or

other       public   utility   must   demonstrate        that   “(1)   its   new

construction ‘is a public necessity in that it is required to

render safe and adequate service’; and (2) ‘there are compelling

reasons, economic or otherwise, which make it more feasible.’”

Omnipoint Commc’ns, Inc. v. City of White Plains, 430 F.3d 529, 535

(2d Cir. 2005) (quoting Cellular Tel. Co. v. Rosenberg, 82 N.Y.2d

364, 371–72 (1993)). This standard has been interpreted to require

that the provider establish the following: “[1] there are gaps in

service, [2] . . . the location of the proposed facility will

remedy those gaps and [3] . . . the facility presents a minimal

intrusion on the community[.]” T-Mobile Ne. LLC v. Town of Islip,

893 F. Supp.2d 338, 355 (E.D.N.Y. 2012) (quoting Site Acquisitions,

Inc. v. Town of New Scotland, 770 N.Y.S.2d 157, 160 (3d Dep’t 2003)

(citing Rosenberg, 82 N.Y.2d at 373-74)).




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     “As a general rule, if the public utility makes the required

showing,    which   necessarily          means    the    record   is    devoid     of

substantial evidence to support a denial, the [application] must

issue.” Town of Islip, 893 F. Supp.2d at 355 (citing Omnipoint

Commc’ns v. Town of LaGrange, 658 F. Supp.2d 539, 555 (S.D.N.Y.

2009)). If, however, the Court “‘finds that even one reason given

for the denial is supported by substantial evidence, the decision

of the local zoning body cannot be disturbed.’” Id. (quoting New

York SMSA L. P. v. Town of Oyster Bay Zoning Bd. of Appeals, No.

08-CV-4833, 2010 WL 3937277, *4 (E.D.N.Y. Sept. 30, 2010)); accord,

e.g.,    Cellco   P’ship     v.   Town    of   Clifton    Park,   New   York,     No.

117CV273FJSDJS, 2019 WL 498754, at *4 (N.D.N.Y. Feb. 8, 2019).

     B.     Local Law

     The applicable local law in effect at the time of the Town

Board’s decision is Local Law No. 2 of 1999, An Amendment of the

Zoning     Ordinance    of    the    Town        of   Kiantone,    Article       XVI,

Telecommunications Facilities,             a copy of which is attached as

Exhibit A (Dkt #1-1) to the Complaint (Dkt #1). The short title of

this law is the Town of Kiantone Telecommunications Facilities Law

(“the TKTFL”). See TKTFL § 29.1.

     Section 29.9 of the TKTFL pertains to “Permit Standards For

New Tower” and lists certain criteria to be considered by the Board

in approving or denying a request for a tower permit: siting;

aesthetics (which encompasses tower type, landscaping, co-locating,


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lighting, signs, and ancillary uses); traffic, access and safety;

removal of tower; structural safety; and maintenance. See id. §

29.9, ¶¶ A-F. The TKTFL does not state how these factors should be

weighed.

       When evaluating the evidence supporting the denial of a

wireless provider’s application, “local and state zoning laws

govern the weight to be given the evidence” and the TCA does not

“affect or encroach upon the substantive standards to be applied

under established principles of state and local law.” Town of

Oyster Bay, 166 F.3d at 494. Because the TKTFL contains no specific

instructions as to the weighing of the relevant factors, the “only

limit” on the Board’s ability in this regard “is set by the TCA’s

restriction that municipalities cannot deny applications that would

result in the effective prohibition of wireless services, which

requires that certain allowances be made where there is a ‘need for

service’ that cannot be closed by ‘less intrusive means.’” Willoth,

176 F.3d at 647 (quotation omitted). The foregoing language is

reflected in the TKTFL’s special variance standard applicable to

public utilities. See TKTFL § 29.5(G)(1).

IV.    The Board’s Reasons for Denying the Application

       The   Board’s   two   main   reasons    for   denying   Plaintiff’s

Application were that Plaintiff “failed to establish that [1] its

proposed facility is the least intrusive means to close Blue

Wireless’ gap in wireless coverage or [2] that a tower at this


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location and height is needed to solve Blue Wireless’ alleged gap

in wireless coverage.” Resolution at 13. The Board’s rationale for

these conclusions focused on what it perceived to be Plaintiff’s

failure to investigate other, less intrusive sites. The Court

addresses the reasons proffered by the Board in turn below.

     A.     Proposed Site Not “Least Intrusive”

     While the Board relied on its finding that Plaintiff failed to

show that its proposed facility is the least intrusive means to

close Blue Wireless’ gap in wireless coverage, courts in this

Circuit have found that the “least intrusive” standard is not the

correct standard in connection with a substantial evidence claim

under 47 U.S.C. § 332(7)(B)(iii). See, e.g., New York SMSA Ltd.

P’ship v. Vill. of Floral Park Bd. of Trs., 812 F. Supp.2d 143, 164

(E.D.N.Y. 2011). In Vill. of Floral Park Bd. of Trs., the district

court rejected an argument by the defendant zoning board that the

plaintiff wireless carrier “did not establish a need for the

special use permit because it did not establish that [its proposal]

was the ‘least intrusive and only feasible plan’ for closing the

coverage gap” because “on a substantial evidence claim like the one

[the plaintiff] asserts [under 47 U.S.C. § 332(7)(B)(iii)], a

public    utility   is    not   required   to    show    that   its   proposed

telecommunications       facility   is   the    ‘least   intrusive    or   only

feasible plan’ of closing a coverage gap.” 812 F. Supp.2d at 164.

Rather, the district court observed, that standard is appropriate


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in the context of a prohibition-of-wireless-services claim under 47

U.S.C. § 332(7)(B)(i)(II). Id. (citing New York SMSA Ltd. P’ship v.

Inc. Vill. of Mineola, No. 01–CV–8211, 2003 WL 25787525, at *5

(E.D.N.Y. 2003)).

     The Second Circuit has addressed the distinction between these

two standards. Floral Park Bd. of Trs., 812 F. Supp.2d at 164

(citing Omnipoint Commc’ns, Inc., 430 F.3d 529). In the context of

a substantial evidence claim brought by the plaintiff, the Second

Circuit in Omnipoint Commc’ns, Inc. agreed that the planning board

applied   “the    wrong   test”   when     it   required   the   plaintiff    to

establish public necessity by showing that its proposal would close

a coverage gap in the “least intrusive means.” 430 F.3d at 535. The

“least intrusive means” requirement “addresses the showing an

applicant must make before TCA § 332(c)(7)(B)(i)(II) will require

a planning board to grant its application.” Id. (emphasis in

original).   By    contrast,      the     Second   Circuit   explained,      the

applicable standard on a substantial evidence claim is the public

necessity standard under New York law “which concerns the showing

that a utility must make under New York law before a zoning board

may grant a use variance.” Id. (citing Con Ed, 43 N.Y.2d at 611).

To establish public necessity, the carrier must demonstrate not

that the proposed facility was the “least intrusive means,” but

rather that the proposed facility was “more feasible than other

options.” Id. (emphasis added).


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       Moreover, the “least intrusive” standard is not found anywhere

in the TKTFL. The only time “intrusive” is mentioned in the TKTFL

is in the section pertaining to variances requested by a public

utility such as Plaintiff. Specifically, Section 29.5(G) states

that if a public utility “demonstrates with substantial evidence it

cannot provide service by following all requirements” of the TKTFL,

the        Board   “may   grant   variances”    if    the   public     utility

“demonstrate[s] . . . public necessity in that the site is required

to render safe and adequate service, that there are compelling

reasons, economic or otherwise, which make the site more feasible

than properly zoned sites, and the site is no less intrusive             [sic]

of the local zoning than other viable sites.” TKTFL § 29.5(G)(1)

(emphasis supplied). The phrase “no less intrusive,” i.e., “not any

less intrusive,”2 does not mean that the public utility must

demonstrate that its proposed site is the “least intrusive.”

       B.      Failure to Establish Public Necessity

       The Board also found that Plaintiff failed to “establish a

need for this tower at this location and height is needed to solve

Blue Wireless’ alleged gap in wireless coverage.” Resolution at 13,

15. The Board’s description of the coverage gap as “alleged”

suggests it does not accept that Plaintiff has established a

coverage       gap. The Board noted that in its Application, Plaintiff


       2

      The Court believes that what the Board meant to say in this section is “no
more intrusive” rather than “no less intrusive.”

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asserted that “[t]he Blue Wireless network does not currently

provide adequate service in the area south of Newland Avenue.”

Resolution at 10, ¶ 47 (citation to record omitted). The Board

observed that Newland is located in the City of Jamestown one mile

north of the proposed site, id. ¶ 48, and the Jamestown city line

is   three-tenths    of   a   mile   north   of   the    proposed   site,   id.

Therefore, the Board concluded, a “significant amount of coverage

is for service outside the Town of Kiantone.” Id. However, in the

Resolution, the Board did not meaningfully or substantively dispute

the existence of a significant coverage gap.

      In contrast, Plaintiff presented a series of Blue Wireless

radio   frequency    (“RF”)    propagation    maps      to   Defendants   which

depicted the existing and expected wireless coverage from the

proposed tower location at heights of 180 feet and 170 feet,

respectively. See Plaintiff’s Memorandum of Law (“Pl.’s Mem.”) (Dkt

#42) at 8 (citing Complaint (Dkt #1), Ex. 13; Amended Complaint

(“Am. Compl.”) (Dkt #24), Exs. 14 & 19). Eric Wong (“Wong”), an RF

engineer and Blue Wireless’ Network Director identified the area

around 1710 Foote Avenue as the necessary location for a new Blue

Wireless site based on RF studies he conducted. See Affidavit of

Eric Wong (“Wong Aff.”) (Dkt #1-6) ¶¶ 1, 3. These studies revealed

that the Town currently does not have coverage from Blue Wireless.

Id. ¶ 4. Based on the RF studies he conducted, id. ¶ 7 (citing Exs.

5C, 5D, 5H, & 5I to Dkt #1-6), Wong identified 1710 Foote Avenue as


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the necessary location for a new wireless tower; at a height of 180

feet, the proposed tower would “cover businesses along Foote

Avenue[;]”   “nearby   residential   neighborhoods    in   the   northern

section of the Town of Kiantone[;]” “vehicles moving through the

area on Foote Avenue[;]” and “would provide a seamless connection”

with Blue Wireless’ existing antennas in the City of Jamestown. Id.

¶ 5, which “would allow customers to move between the two coverage

areas without experiencing a dropped call or interruption in data

service[,]” id. ¶ 7. Wong further averred that if Plaintiff were to

site a new tower outside of the required search ring radius, it

would result in a coverage gap between the existing Blue Wireless

antennas as well as reduced coverage in the target areas. Id. ¶ 6.

As Wong acknowledged in his affidavit, Blue Wireless previously had

collocated antennas on an existing tower at the corner of Foote

Avenue and Brad Street; however, the antennas were removed because

this site did not fit with Blue Wireless’ network design. Id. ¶ 9.

Based on his RF propagation studies showing expected coverage from

the extant tower, Wong determined that there were too much overlap

with another Blue Wireless site in Jamestown and lack of coverage

over the targeted areas in the Town. Id.

     Plaintiff notes that Defendants never requested supplemental

RF documentation during any of Plaintiff’s appearances before the

Board. See Pl.’s Mem. at 8 (citing Am. Compl., Ex. 13; Answer (Dkt

#26), Exs. 3, 4, & 7 (Dkt #26-1)). Nor did any other party submit


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evidence   contradicting       Plaintiff’s     RF   propagation   studies,

challenging Wong’s qualifications, or questioning the technological

foundation of the RF studies. Courts in this Circuit have found

this nature and type of evidence sufficient to support a finding of

a   “significant   gap”   in   wireless   coverage.   See,   e.g.,   Nextel

Partners, Inc. v. Town of Amherst, NY, 251 F. Supp.2d 1187, 1196

(W.D.N.Y. 2003) (plaintiff’s RF propagation maps “clearly showed a

significant gap” in plaintiff’s wireless service in the Town of

Amherst where such gaps were “not limited to rural areas or the

interior of buildings in sparsely populated areas;” there were

“coverage holes near the intersection of New Road and Tonawanda

Creek   Road;”   and   tower   intended   to   provide   “coverage   along

Tonawanda Creek Road and .       . . at least in-vehicle coverage” on

three roads which were “well traveled and certainly [did] not

qualify as rural areas”); Omnipoint Commc'ns, Inc. v. Town of

LaGrange, 658 F. Supp.2d 539, 559 (S.D.N.Y. 2009) (finding a

significant gap where RF propagation maps showed “a complete

absence of coverage over a 3.5–mile area along State Route 55 and

in the center of the Town of LaGrange”).

      In sum, the Court finds that Plaintiff presented substantial

evidence of a significant coverage gap in wireless coverage which

Defendants did not controvert. Accordingly, Defendants’ conclusion

that Plaintiff failed to establish a need for a wireless tower at




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the    height   and   location     proposed   in   its   Application     is   not

supported by substantial evidence.

       C.    Failure to Investigate Other Viable Sites

       Defendants     assert   that    Plaintiff    failed    to    adequately

investigate other potentially viable sites for constructing a new

tower or placing an antenna. In particular, Defendants fault

Plaintiff for failing to engage in good faith negotiations with

George Barton Schuver, Jr. (“Schuver”), the owner of the property

identified as Location 19 (“the Schuver property”) in Plaintiff’s

Supplemental Site Selection and Justification Report; failing to

explore the option of placing an antenna on a light tower at the

Jamestown Sports Complex; and failing to evaluate locations outside

of    the   Town’s    commercial    zoning    districts.   For     the   reasons

discussed below, the Court finds that none of the reasons are

supported by substantial evidence and instead, in some cases, rest

on mischaracterizations of the record.

       1.    Investigation of Alternative Sites

       As part of the public necessity test, a zoning board must

consider whether there is a more feasible, less intrusive option

for the wireless provider to site its facility. See, e.g., Vill. of

Floral Park Bd. of Trs., 812 F. Supp.2d at 164–65 (“A local board

is justified in considering the availability of alternatives that

might create less disruption to the community’s zoning plan.”)

(alterations omitted); N.Y. SMSA L.P. v. Town of Oyster Bay Zoning


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Bd. of Appeals, No. 08–CV–4833, 2010 WL 3937277, at *6 (E.D.N.Y.

Sept. 30, 2010) (same). “[T]he Court must ascertain whether there

is   substantial          evidence       to   support    the     Board’s       finding       that

alternative         sites    were     not      investigated          properly,        based    on

evaluation of the entire record, including opposing evidence.” Town

of Oyster Bay Zoning Bd. of Appeals, 2010 WL 3937277, at *6; see

also   N.Y.        SMSA    Ltd.    P’ship      v.     Inc.     Vill.     of    Mineola,       No.

01–CV–8211, 2003 WL 25787525, at *9 (E.D.N.Y. Mar. 26, 2003) (“The

court must ascertain whether there is substantial evidence to

support      the    Board’s       finding      that    alternative        sites       were    not

investigated properly, based on evaluation of the entire record,

including opposing evidence.”) (citing Am. Textile Mfrs. Inst.,

Inc.    v.    Donovan,       452     U.S.      490,     523     (1981)       (in   performing

substantial         evidence       review,      “court        must    take     into     account

contradictory evidence in the record”)).

       In    its    initial       Site    Selection      and     Justification          Report,

submitted along with its Application, Plaintiff evaluated nine

commercial properties along Foote Avenue. To determine each site’s

viability, Plaintiff looked at whether the site could provide

reliable service to remedy Blue Wireless’ coverage gap, the land

uses surrounding the site, the presence of natural features that

could act as a buffer, the capability of constructing a tower on

the site, and Plaintiff’s ability to obtain a legal interest in the

property. Plaintiff found that, within the search ring, there were


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no towers or tall structures on which Blue Wireless might collocate

its antennas. See Wong Aff. ¶ 20. The Town was informed of

Plaintiff’s   conclusion   on   this   point    at    the   public    hearings

addressing the Application. Id.

     The Board then asked Plaintiff to evaluate additional products

within a three-mile search ring around the proposed site on Foote

Avenue. Defendants requested that Plaintiff evaluate additional

properties that were not properly zoned—and which would have

accordingly required another variance under the TKTFL. Plaintiff

assessed ten additional properties, predominantly in the B-1 and B-

2 (commercial) zoning districts. Plaintiff also assessed three

sites that were not commercially zoned. On December 10, 2015,

Plaintiff submitted its Supplemental Site Selection Justification

Report (“SSSJR”), Am. Compl., Ex. 19 (Dkt #24-2) & Ex. 20 (Dkt #24-

3), setting forth all the sites it had evaluated to date.

     In the SSSJR Plaintiff explained in detail its rationale for

declining to assess properties that were not properly zoned or had

existing   residential   uses   and    would   in    turn   require   another

variance. Plaintiff cited TKTFL § 29.9(A) which states that the

Board “shall allow siting of new towers only in commercial areas.”

In addition, Plaintiff cited TKTFL § 29.6(B), which provides that

“[n]o new towers shall be allowed within a residential zoning

district, or within 250 feet of the boundary of a residential

zoning district.” Plaintiff also noted that the TKTFL contained a


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500-foot tower setback requirement from any public roadway. For

each of the possible locations, Plaintiff concluded that, based on

a 180-foot radius representing the full tower height setback, and

a 280-foot radius representing the additional 100 feet for the

fall-down zone as required by TKTFL § 29.8(F), none of the 19 lots

in the search area would accommodate these distances. See SSSJR at

1 (Am. Compl., Ex. 20 (Dkt #24-3)).

     Defendants,      however,     focused   on    Plaintiff’s      purported

“fail[ure] to follow the Town Planning Board recommendations” “to

explore options that would be less intrusive, even if the site was

not located in a Business Zoning District.” Resolution at 14. The

Court questions the reasonableness of the Board’s demand that

Plaintiff   explore    locations    where    the   placement   of   wireless

facilities is expressly forbidden by the Town’s zoning law, given

that Plaintiff’s pending application for a site within the proper

zoning district already required six variances, see Resolution at

4-5, which the Board found too intrusive of the Town’s zoning.

Moreover, Plaintiff did explore three sites that were in non-

commercially zoned districts but found them unsuitable, as set

forth in the SSSJR. The Resolution did not substantively contest

the reasons identified by Plaintiff in the SSSJR but instead

offered non-substantive, minor criticisms, such as that the maps

and drawings were not in the same scale. These criticisms were

effectively rebutted by Plaintiff in its opposition to the pending


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summary judgment motion. See Pl.’s Mem. at 19-22 (citations to

record omitted). After reviewing the record as a whole, the Court

is compelled to conclude that the Board’s rejection of Plaintiff’s

application for failing to investigate alternative sites or follow

the    Board’s    recommendations    was     not    supported    by   substantial

evidence.

             2.     The Schuver Property

       The Schuver Property consists of 87 acres of vacant land

located on the west side of Foote Avenue, opposite the proposed 30-

foot by 50-foot site on the east side of Foote Avenue. In the

Resolution denying Plaintiff’s Application, Defendants noted that

Schuver appeared at the December 10, 2015 Board meeting and stated

that he was willing to negotiate with Plaintiff regarding Lot 19.

See    Resolution    at   13.    However,    Defendants    stated,      Plaintiff

“indicated at the hearing that [it] was not willing to talk to Mr.

Schuver and just wanted the Board to make a decision on [its]

application within the 150-day time period of the ‘shot clock.’”

Id. Defendants concluded that Plaintiff “did not present to the

Board any      evidence   from    which    the     Board could    conclude that

[Plaintiff] was making a reasonable effort to locate on the less

intrusive Schuver property.” id. at 14; see also Am. Compl., Ex. 25

(Dkt #24-5).

       In its opposition to Defendants’ request for summary judgment,

Plaintiff has provided more details regarding its evaluation of the


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Schuver property. With regard to the viability of the Schuver

property,    during    the   initial    lease    negotiations,     Schuver   had

informed Plaintiff that the tower needed to be located on the

northeastern portion of his property along South Avenue so as not

to impede any future development of the rest of parcel. See

Affidavit of Donald Carpenter (“Carpenter”) dated October 30, 2018

(“Carpenter    Aff.”)    (Dkt   #42-3)     ¶    21.   Carpenter,   Plaintiff’s

consultant    on      site   acquisition       and    design,    averred     that

accommodating Schuver’s request would have located the tower in

plain view of multiple residences with no natural buffer and would

have required the same or similar variances needed for the 1710

Foote Avenue site. Id. Defendants’ assertion that the Schuver

property     was less intrusive was not supported by substantial

evidence.

     With regard to Defendants’ accusation that Plaintiff did not

negotiate in good faith for the Schuver property, the Court finds

that this assertion is belied by the record. Carpenter, Plaintiff’s

consultant, has averred that the parties engaged in extensive

negotiations.      Schuver requested, and Plaintiff agreed to, a

monthly rental payment that exceeded Plaintiff’s standard rental

payment in the region. See Carpenter Aff. ¶ 23. After reaching

agreement on proposed lease terms with Carpenter, id. ¶ 24, Schuver

retained a company to renegotiate the lease terms, id. ¶ 25. About

a month after his last correspondence with Schuver, Carpenter


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received a proposed lease agreement from Schuver’s consultant which

contained several substantial revisions and new provisions that

were objectionable to Plaintiff, “including a 250% increase in rent

and a revenue sharing provision that would have increased Up

State’s monthly rent payment to Mr. Schuver by almost four times

what he had requested.” Id.

     About a week later, on December 7, 2015, Carpenter presented

a counter-offer to Schuver which retained the revenue sharing

provision (albeit in a reduced amount). Carpenter Aff. ¶ 26 & Ex.

C. The next communication between Schuver and Carpenter occurred at

the December 10, 2015 Board meeting, at which time Carpenter

informed the Board about the lease negotiations with Schuver and

the fact that this property still required a number of variances.

Id. ¶ 27. When Schuver publicly stated that he was willing to

negotiate, Carpenter responded that he was not interested because

he believed Schuver “had not acted in good faith to that point” and

would not do so going forward. Moreover, because Carpenter had

received no response to his December 7, 2015 counter-offer, he

assumed negotiations had ended. Id. ¶ 29. Nevertheless, after the

meeting,   Carpenter   continued     to   communicate   with   Schuver’s

consultant, and they exchanged further revisions to the proposed

lease agreement. However, the parties could not reach mutually

acceptable terms. Id. ¶ 30. Carpenter also had suggested that




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Plaintiff could purchase an easement for the use of a portion of

the property, but Schuver rejected this idea. Id. ¶ 31.

     Based on a review of the record as a whole, the Court finds

that the Board’s rejection of the Application on the basis that

Plaintiff failed to negotiate in good faith with Schuver regarding

Location 19 is unsupported by substantial evidence. Moreover,

substantial evidence does not support the Board’s finding that the

Schuver property was actually available or viable, particularly in

light of the parties’ inability to reach agreement on lease terms.

See, e.g., New York SMSA L.P. v. Town of Oyster Bay Zoning Bd. of

Appeals, 2010 WL 3937277, at *6 (substantial evidence did not

support board’s finding that alternative sites not investigated

properly where board focused on a local mattress store as a viable

alternative site, but the wireless provider “clearly explained” why

the site was inappropriate: after significant negotiation, the

store owner insisted on a term in the lease agreement that gave

either party the right to unilaterally terminate the agreement,

meaning that provider could be forced to remove the antennas);

Inc. Vill. of Mineola, 2003 WL 25787525, at *9 (“Verizon met its

burden   of        investigating   alternatives   and   presented   credible

evidence regarding the infeasibility of the sites and the Board

presented no evidence to the contrary.”).

              3.      Jamestown Sports Complex




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      The   Board    also   denied     the    Application    because     Plaintiff

purportedly failed to investigate locating its antennas on an

existing light pole at the Jamestown Sports Complex, as suggested

by the Town’s consultant, Richard Comi. Defendants noted that “Up

State’s own RF Engineer, Mr. Wong, . . . indicated at the December

10, 2015 hearing that the gap in coverage could be solved by

placing an antenna on a light pole if of proper height and if the

pole could hold the equipment.” Resolution at 14. Defendants stated

that the “light poles on the football field are located at an

elevation of 130' to 150' higher than the proposed site” and the

“Sports Complex is located approximately 1/4 of a mile from the

proposed site.” Id.

      In    opposition      to   Defendants’      summary     judgment     motion,

Plaintiff    has    submitted     another     affidavit     from   Wong,   its   RF

engineer, clarifying his statements at the December 10, 2015 Board

meeting. See Second Affidavit of Eric Wong (“2nd Wong Aff.”) (Dkt

#42-4) ¶¶ 16-18. Wong averred that he advised the Board that “some

level of service could theoretically be obtained by collocating on

a   light   pole    provided     the   pole    was   structurally    capable     of

accommodating an antenna array installation and had the height

required to provide reliable service[,]” id. ¶ 16, but he “did not

state that any specific light pole(s) in the surrounding area,

including any light pole located at the Jamestown Sports Complex,

located approximately 1/2 mile away and well outside of the search


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ring, could be used to address” the coverage gap. Id. ¶ 17. Since

the property was outside of the search ring and as far north as the

existing tower at the intersection of Foote Avenue and Brad Street,

it presented the same coverage issues as the existing tower, which

had been rejected by Blue Wireless for collocation because it

overlapped too much with another of its towers and thus did not

work within its network. Wong further explained in his affidavit

that, in his experience, standard light poles are generally not

suitable collocation alternatives because they are designed to

accommodate only the lights positioned at the top of the pole and

lack the    structural   integrity    for   the   collocation    of   a   full

wireless antenna array. Id. ¶ 18.

       The Board concluded that Plaintiff “failed to make contact

with the [Jamestown] school [district]” even though the Board had

been   “informally   advised   that   the    school   district    would    be

interested in talking about a lease,” which information the Board

passed on to Plaintiff. Id. Plaintiff responds that on May 9, 2016,

Carpenter met with the District’s Director of Finance and Business

Affairs, Vernon Connors (“Connors”) about leasing space for a new

tower in the southeast corner of the Jamestown Sports Complex.

Carpenter Aff. ¶ 33. Carpenter provided a proposed lease agreement

to Connors, and they exchanged emails; however, on November 16,

2016, Conners informed Carpenter by email that the District was not




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interested in pursuing a lease agreement with Plaintiff. Id. ¶ 34

& Ex. D.

      The Court finds that the Board’s rejection of the Application

on the ground that Plaintiff failed to investigate siting its

wireless facility on a light pole or other existing structure is

unsupported      by   substantial     evidence.      Contrary   to    Defendants’

assertion, Plaintiff did explore leasing space on the light tower

at   Jamestown    Sports     Complex,    but    it   was   unable    to   reach   an

agreement     with     the   School     District.      Moreover,      Defendants’

contention that the light tower at the Sports Complex was a viable

alternative for placement of Plaintiff’s wireless facility appears

to have been based purely on speculation by the Board. See New York

SMSA Ltd. P’ship v. Town of Oyster Bay, No. 11-CV-3077 MKB, 2013 WL

4495183, at *18 (E.D.N.Y. Aug. 16, 2013) (“The Board is required to

support its decision with substantial evidence that the alternative

sites were feasible.”) (citing Town of Oyster Bay Zoning Bd. of

Appeals, 2010 WL 3937277, at *6 (noting that “[t]he Board presented

no evidence that other sites were appropriate substitutes for the

Property”)).

      D.    Generalized Statements of Concern

      The   Resolution       throughout        contains    references      to     the

intrusiveness of the Proposed Site and asserts that other viable,

less intrusive sites are available. However, the Court has not been

able to discern specific reasons based on substantial evidence why


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1710 Foote Avenue was more intrusive than other sites. The Second

Circuit has held that “generalized expressions of concern . . .

cannot serve as substantial evidence” on which a municipal planning

board may deny a wireless provider’s application. Town of Oyster

Bay, 166 F.3d at 496. Other than conclusory assertions that the

alternatives were more suitable and Plaintiff should have tried

harder, the Board did not present substantial evidence that the

other sites were feasible. In contrast, Plaintiff investigated the

alternatives suggested by the Board, documented its findings,

analyzed them, and presented its conclusions in writing and in

person to the Board as to why these alternatives were not feasible.



       Moreover, the Court notes that the Town’s own determination

under    the   New   York   State   Environmental     Quality   Review    Act

(“SEQRA”), N.Y. Envtl. Conserv. Law § 8-0109, et seq., tends to

undermine Defendants’ position that Plaintiff’s proposed facility

“is going to cause numerous zoning problems.” Defs.’ Mem. at 9. In

Part 3-Evaluation of the Magnitude and Importance of Project

Impacts on the Full Environmental Assessment Form, the Town, as

“Lead Agency,” stated as follows: “Because the tower exceeds 175

feet in height, it is considered a Type I action under SEQR by the

Town of Kiantone, and a full EAF [Environmental Assessment Form]

has been completed. Part 2 of the EAF identifies that the project

will    have   no    significant    impacts   or   small   impacts   on   the


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environment.” SEQRA Determination, Ex. A to Declaration of Jon

Devendorf (Dkt #42-2, p. 30 of 33) (emphasis supplied). The Town

further     concluded   that   “[t]his    project   will   result   in   no

significant adverse impacts on the environment” and therefore a

“negative declaration [was] issued.” Id. (Dkt #42-2, p. 31 of 33).

     E.      Conclusion and Remedy

     For the foregoing reasons, the Court finds that the Board’s

Resolution denying Plaintiff’s Application is not supported by

substantial evidence. Accordingly, Defendants cannot be granted

summary judgment with respect to Count V of the Amended Complaint.

E.g.,     T-Mobile Ne. LLC v. Inc. Vill. of E. Hills, 779 F. Supp.2d

256, 272 (E.D.N.Y. 2011).

     The TCA does not specifically provide a remedy for violations

of the various provisions of 47 U.S.C. § 332(c)(7). At least for

violations of the substantial evidence provision, 47 U.S.C. §

332(c)(7)(B)(iii), “almost all courts to address the question have

held that ‘the appropriate remedy is injunctive relief in the form

of an order to issue the relevant permits.’” T–Mobile Northeast LLC

v. Town of Ramapo, 701 F. Supp.2d 446, 463 (S.D.N.Y. 2009) (quoting

Town of Oyster Bay, 166 F.3d at 497 (collecting cases)); see also

Omnipoint Commc’ns, Inc. v. Town of LaGrange, 658 F. Supp.2d 539,

562 (S.D.N.Y. 2009) (declining town’s request to remand matter to

planning board; remand would “be both futile and inappropriate” due

to the “considerable evidence of past delay on the [t]own’s part


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and the only ‘useful purpose’ that would be served by remand” would

be “allowing local officials to delay the inevitable for as long as

possible”).

     The record before the Court compels the conclusion that, in

denying the Application, the Board did not adduce “such relevant

evidence as a reasonable mind might accept as adequate to support

a conclusion,” Town of Oyster Bay, 166 F.3d at 494 (citations

omitted). The Court is further convinced, given the completeness of

the record, that the Board could not find substantial evidence in

the record on which to deny the Application again, should the

matter be remanded. Therefore, the Court finds, further proceedings

before the Board would be futile. Accordingly, the Court grants

Plaintiff’s request for injunctive relief and directs the Town to

grant the Application and issue all necessary variances. See, e.g.,

New Cingular Wireless PCS, LLC v. Town of Fenton, 843 F. Supp.2d

236, 258 (N.D.N.Y. 2012).

                                 ORDERS

     For the foregoing reasons, it is hereby

     ORDERED that Defendants’ Second Motion for Summary Judgment is

denied; and it is further

     ORDERED that judgment as a matter of law is granted to

Plaintiff on Count V of the Amended Complaint because Defendants

violated 47 U.S.C. § 332(c)(7)(B)(iii), insofar as the reasons for




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their written denial of Plaintiff’s Application were not supported

by substantial evidence in the record; and it is further

     ORDERED that the Resolution issued by the Board denying the

Application is vacated; and it is further

     ORDERED   that    Defendants     promptly    approve    Plaintiff’s

Application and grant and issue all required variances.

     The Clerk of Court is directed to close this case.

     SO ORDERED.

                                         s/ Michael A. Telesca

                                        HON. MICHAEL A. TELESCA
                                     United States District Judge

Dated:    March 11, 2019
          Rochester, New York.




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